

People v Shaheed (2024 NY Slip Op 03345)





People v Shaheed


2024 NY Slip Op 03345


Decided on June 18, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 18, 2024

Before: Manzanet-Daniels, J.P., Kennedy, Scarpulla, Shulman, Higgitt, JJ. 


Ind. No. 1777/18 Appeal No. 2522 Case No. 2019-05016 

[*1]The People of the State of New York, Respondent, 
vNaseer Shaheed, Appellant.


Twyla Carter, The Legal Aid Society, New York (Graham Ball of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Stacie Nadel of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Anne Scherzer J., at plea; Ellen Biben, J. at sentencing), rendered August 19, 2019,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 18, 2024
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








